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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                        No. 24-CR-0032 MV

FRANCISCO DIAZ,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER is before the Court on the government’s Notice of Amended Objections

to Defendant’s Witness List. Doc. 92. Having considered the briefs and relevant law, and being

otherwise fully informed, the Court will order Mr. Diaz to permit the government to inspect the

master bedroom closet of his home.1

                                         DISCUSSION

       Mr. Diaz intends to call Paula Sanchez-Knudsen, a private investigator, to testify about

follow-up investigations she conducted about the firearms seized on September 3, 2019 from the

master bedroom closet, security cameras at Mr. Diaz’s home, and her follow-up investigation on

the government’s investigation and evidence. Doc. 78 at 2. The government initially objected to

any testimony by Ms. Sanchez-Knudsen because defense counsel failed to timely disclose Ms.

Knudsen’s notes and because the testimony would not be relevant. Doc. 92. The government has

since withdrawn its objection regarding her testimony about Mr. Diaz’s closet but requests an order

from the Court permitting the government to inspect the closet pursuant to Rule 16(b)(1)(A). Doc.

106 at 15. Federal Rule of Criminal Procedure requires a defendant to “permit the government,



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 The remainder of the government’s objections the defense’s witnesses will be addressed in a
separate Memorandum Opinion and Order.
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upon request, to inspect . . . buildings or places, . . . if: (i) the item is within the defendant’s

possession, custody, or control, and (ii) the defendant intends to use the item in the defendant’s

case-in-chief at trial.” Fed. R. Crim. P. 16(b)(1)(A). Mr. Diaz has represented that Ms. Sanchez-

Knudsen took measurements of the closet and will testify “about numerous issues relative to the

government’s investigation, including items depicted on several government exhibits and the

government’s evidence processing and submission.” Doc. 99 at 2. The closet is highly relevant to

this case because that is where agents discovered the cocaine and firearms, which form the bases

of the instant charges. Thus, it appears that Mr. Diaz will be discussing the measurements of the

closet in his case-in-chief at trial and Mr. Diaz has not objected to the government’s request.

Therefore, the government is entitled to inspect the closet. The Court thus orders that Mr. Diaz

permit the government to inspect the closet in his master bedroom.



       IT IS THEREFORE ORDERED THAT: Mr. Diaz will permit the government to inspect

the closet in the master bedroom of his home.



ENTERED this 22nd day of February 2024.



                                                _______________________________
                                                MARTHA VÁZQUEZ
                                                SENIOR UNITED STATES DISTRICT JUDGE




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